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                           UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                  PECOS DIVISION

JOHN P. BOERSCHIG,                  :
            Plaintiff,              :
                                    :
v.                                  :            No. 4:16-CV-00056
                                    :
TRANS-PECOS PIPELINE, LLC,          :
           Defendant.               :
___________________________________ :

                                        COMPLAINT

Preamble: Nature of action

    1.   Using the State of Texas’s sovereign power of eminent domain, a private pipeline com-

pany is proposing to condemn nearly 13 acres of Mr. Boerschig’s Presidio County ranch for

right-of-way for the company’s natural gas pipeline. The state has delegated its eminent domain

power to the pipeline company, unaccompanied by any standards for the route the pipeline may

take or the extent of private property to be taken. Texas law deprives private property owners

such as Mr. Boerschig of any opportunity to challenge the pipeline company’s right to take their

property in advance of the company taking possession of the property. The pipeline’s use of the

state’s eminent domain powers deprives Mr. Boerschig of property rights protected by the Due

Process Clause of the Fourteenth Amendment.

Jurisdiction and venue

    2.   This Court has original jurisdiction under 28 U.S.C. § 1331. Plaintiff seeks preliminary

and permanent injunctive relief and declaratory relief under 28 U.S.C. §§ 2201 and 2202.

    3.   Venue is proper in this Court pursuant to 28 U.S.C. §§ 124(d)(6) and 1391(b)(2).
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Parties

    Plaintiff

    4.    Plaintiff John P. Boerschig is a Texas resident, whose primary home is in Washington

County, Texas. He holds fee simple title to a 10,947.22-acre ranch in Presidio County, Texas,

referred to here as the “South Shurley ranch.”

    Defendant

    5.    Defendant Trans-Pecos Pipeline, LLC (“Trans-Pecos”), is a Texas limited liability

company. Trans-Pecos is owned by Energy Transfer Mexicana, LLC, a subsidiary of Energy

Transfer Partners, L.P. Trans-Pecos is currently actively pursuing acquisition of easements in

real property in Presidio County, Texas, specifically including an easement across Boerschig’s

South Shurley ranch, for purposes of constructing one or more pipelines. Trans-Pecos’s agent for

service of process is Corporation Service Company d/b/a CSC-Lawyers Incorporating Service

Company, 211 E. 7th Street, Suite 620, Austin, Texas 78701-3218.

Factual allegations

    6.    Trans-Pecos was formed for the purpose of constructing one or more natural gas pipe-

lines in West Texas. One of these pipelines is the Trans-Pecos Pipeline (“TPP”).

    7.    Trans-Pecos plans to construct pipeline facilities on a route it has unilaterally chosen

across Pecos, Brewster, and Presidio Counties to the middle of the Rio Grande River, at the in-

ternational boundary with the State of Chihuahua, Mexico. At that point, Trans-Pecos’s pipeline

network will link with an interconnecting Mexican pipeline. These pipeline facilities will

transport natural gas.

    8.    Trans-Pecos could have gone forward with its plans for the pipeline facilities by treating

the TPP as a single natural gas pipeline engaged in the “exportation of natural gas in foreign



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commerce,” 15 U.S.C. § 717(b), and subject to the jurisdiction of the Federal Energy Regulatory

Commission (“FERC”). Had it done so, it would have had to seek a certificate of convenience

and necessity (“CCN”) from FERC under 15 U.S.C. § 717f. A CCN, issued after appropriate

administrative proceedings, would have included elements addressing the pipeline’s route.

    9.   A CCN from FERC would have imbued Trans-Pecos with the power of eminent domain

under 15 U.S.C. § 717f(h). But the CCN path through FERC presented Trans-Pecos with two

obstacles it wanted to avoid. First, it would have subjected TPP’s route to FERC administrative

review and approval. Second, according to decisions such as Northern Border Pipeline Co. v.

86.72 Acres of Land, 144 F.3d 469 (7th Cir. 1998), Trans-Pecos would not have the automatic

right to immediate possession of land along its route while eminent domain proceedings are un-

derway. The Natural Gas Act’s eminent domain provision “does not authorize quick-take pow-

er.” Transwestern Pipeline Co. v. 17.19 Acres of Property Located in Maricopa County, 550

F.3d 770, 774 (9th Cir. 2008). Early access is possible only through judicial action and approval.

    10. Trans-Pecos voluntarily took a different approach, one that would take it outside

FERC’s CCN process and coverage by federal statutory rules of eminent domain. It artificially

divided its natural gas pipeline into two pieces. One is dubbed the “Presidio Border Crossing

Project.” It is a border-crossing facility consisting of approximately 1,093 feet of 42-inch diame-

ter pipeline extending from a point approximately 12.5 miles northwest of the City of Presidio in

Presidio County to the middle of the Rio Grande River.

    11. Trans-Pecos’s decision to bifurcate its plans for the pipeline left only the Presidio Bor-

der Crossing Project subject to FERC jurisdiction. On May 5, 2016, FERC issued an order grant-

ing a Presidential permit and authorization under Section 3 of the federal Natural Gas Act to

Trans-Pecos’s self-defined border crossing project to import and export natural gas at the inter-



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national boundary between the United States and Mexico. See Trans-Pecos Pipeline, LLC, Doc.

No. CP15-500-000, 155 FERC ¶ 61,140.1

     12. To transport natural gas to the Presidio Border Crossing Project, for immediate pass-

through transportation to a Mexican pipeline for delivery to points in Mexico, Trans-Pecos plans

to construct and operate a 42-inch diameter pipeline, the TPP, that it has claimed would be an

intrastate natural gas pipeline subject to the jurisdiction of the Railroad Commission of Texas

(“RRC”). With a total capacity of 1.3 bcf (billion cubic feet) per day, the TPP would gather natu-

ral gas at a hub in Pecos County and transport it approximately 148 miles—the distance is some-

times said to be 143 miles—to Presidio County, where it would connect with the Presidio Border

Crossing Project.

     13. Trans-Pecos, a private entity, is the sole decision maker on the TPP route from its Pecos

County hub to its interconnect near the City of Presidio. Neither the RRC nor any other govern-

mental entity—federal, state, or local—plays any official or formal role in TPP’s route decision.

     14. The route chosen by Trans-Pecos crosses many miles in Pecos, Brewster, and Presidio

Counties that is privately-owned property. Trans-Pecos has only two methods for acquiring the

property or rights in connection with this private property. It can negotiate purchase by contract,

or, failing that, it can invoke the power of eminent domain to forcibly take the private property—

in which case it must provide just compensation. Trans-Pecos’s eminent domain power inevita-

bly affects negotiations to purchase by contract since the parties to the negotiations recognize at

the outset that, if a voluntary agreement is not reached, Trans-Pecos can still compel transfer of

the private property rights to itself.




1
 Plaintiff Boerschig is not conceding the correctness of FERC’s Trans-Pecos Pipeline order, but accepts it for pur-
poses of the issues raised in this lawsuit.

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    15. Eminent domain is a sovereign power. See West River Bridge Co. v. Dix, 47 U.S. 507,

517 (1848). Thus, since Trans-Pecos has chosen to configure TPP so that it lacks federal eminent

domain powers, the only source of Trans-Pecos’s eminent domain authority for TPP is the State

of Texas. The Texas Legislature has provided mechanisms for private parties to exercise the

governmental power of eminent domain, making a delegation to private entities of the sovereign

power of eminent domain.

    16. Trans-Pecos claims to be a gas utility within the meaning of Section 121.001(a) of the

Texas Utilities Code. In Section 181.004 of the Utilities Code, the Texas Legislature has delegat-

ed the state’s eminent domain power to gas “corporation[s].” The legislature expanded the defi-

nition of “corporation” to include limited liability companies. Tex. Util. Code § 181.001(1)(C). It

is through these legislative delegations that Trans-Pecos is seeking to exercise Texas’s power of

eminent domain in connection with acquisition of property along the chosen TPP route.

    17. This delegation of Texas’s eminent domain power to Trans-Pecos is not accompanied

by meaningful standards of any sort. Trans-Pecos does not have to establish that the property it

seeks to forcibly take is “necessary” for public use. Rather, absent a showing under state law of

fraud, bad faith, or arbitrariness and capriciousness, Trans-Pecos’s determination of necessity is

conclusive. See, e.g., Valero Eastex Pipeline Co. v. Jarvis, 990 S.W.2d 852, 856 (Tex.App.—

Tyler 1999, pet. denied). Trans-Pecos’s “necessity” determination was made on March 12, 2015,

by a purely private entity, La Grange Acquisition, L.P. (“La Grange”), reputed by Trans-Pecos to

be its sole owner. La Grange is a Texas domestic limited partnership; its general partner is LA

GP, LLC, yet another private entity. La Grange’s assumed name is Energy Transfer Company.

    18. Under Texas law, the amount of land that Trans-Pecos will take, the location of it, and

the necessity for it, all are within Trans-Pecos’s sole discretion. See, e.g., Tenngasco Gas Gath-



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ering Co. v. Fischer, 653 S.W.2d 469, 476 (Tex.App.—Corpus Christi 1983, writ ref’d n.r.e.).

Texas law has turned over to Trans-Pecos all aspects of these decisions, without imposing or

providing any guiding standards.

     19. Trans-Pecos is seeking to exercise its eminent domain powers under Texas law to con-

demn pipeline right-of-way across Plaintiff Boerschig’s South Shurley ranch in Presidio County.

It seeks to condemn a 50-foot wide swath, with the pipeline in the centerline, for about 11,271

feet across the ranch. Nearly 13 acres of Mr. Boerschig’s Presidio County property would be

taken by Trans-Pecos.

     20. Trans-Pecos has instituted condemnation proceedings against Mr. Boerschig for the

ranch in Trans-Pecos Pipeline, LLC v. Boerschig, et al., No. 7668, filed March 4, 2016, in the

394th Judicial District in Presidio County (“Trans-Pecos condemnation proceeding”). It also has

filed a notice of lis pendens, further burdening Mr. Boerschig’s property before any adjudication

of Trans-Pecos’s rights.

     21. The pending Trans-Pecos condemnation proceeding is not a judicial proceeding. The

valuation question has been referred to special commissioners, who have not yet conducted a

hearing or made a valuation determination as to the South Shurley ranch. Under Texas law such

proceedings remain administrative proceedings, and are not judicial proceedings, from the time

of filing a condemnation petition until the special commissioners’ award. Hubenak v. San Jacin-

to Gas Transm’n Co., 141 S.W.3d 172, 179 (Tex. 2004); see also City of Tyler v. Beck, 196

S.W.3d 784, 786 (Tex. 2006). Trans-Pecos has already insisted in writing that the special com-

missioners phase that is currently pending with respect to the South Shurley ranch is administra-

tive, not judicial.




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     22. The Special Commissioners hearing on valuation is scheduled to commence at 9:00

a.m. on July 14, 2016.

     23. Texas law would allow Trans-Pecos to forcibly take possession of the South Shurley

ranch as soon as: (a) any objections are filed in state court to the special commissioners’ award;

and (b) Trans-Pecos has deposited the amount of the award in the registry of the state court. See

Tex. Prop. Code § 21.021(a). This authorization for one private party, Trans-Pecos, to forcibly

take possession of the property of another private party, Mr. Boerschig, deprives Mr. Boerschig

of any opportunity to legally challenge Trans-Pecos’s right to condemn his property prior to

Trans-Pecos seizing it.

     24. Another facet of this problem is that there is not yet a determination that Trans-Pecos is,

in fact, a gas utility which will be performing a public service and engaging in a public use.

Trans-Pecos has been issued what is known as a T-4 permit for the TPP. But that is merely a per-

functory administrative filing, providing Mr. Boerschig and similarly situated private property

owners threatened with condemnation proceedings no opportunity under Texas law for a pre-

possession determination of whether Trans-Pecos is going to put its TPP to a public service in

the state.

     25. As a consequence of Texas’s statutory substantive and procedural authorizations for the

private Trans-Pecos to exercise the sovereign power of eminent domain with respect Mr. Bo-

erschig’s South Shurley ranch, Mr. Boerschig would be forced under Texas law to involuntarily

relinquish possession of his own property to another private party, Trans-Pecos, without the prior

opportunity to dispute the right to condemn at all and without there having been a final judicial

determination of the value of what is being forcibly taken from him.




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    26. As a further consequence of Texas law with respect to this situation, Trans-Pecos is ex-

ercising, and seeking to exercise, this sovereign power of eminent domain without having to

honor any standards established by the state as to which specific private property, or how much

of it, Trans-Pecos (or any other natural gas utility in the state) may condemn.

    27. Government may not constitutionally delegate its sovereign powers to private parties to

exercise dominion and control over other private parties’ property without providing standards

for the exercise of such powers. See Carter v. Carter Coal Co., 298 U.S. 238 (1936); Washington

ex rel. Seattle Title Trust Co. v. Roberge, 278 U.S. 116 (1928); Ass’n of American Railroads v.

U.S. Dep’t of Transportation, 2016 WL 1720357 (D.C. Cir. April 29, 2016). Texas law violates

this constitutional principle in the situation of Trans-Pecos’s use of the state power of eminent

domain to attempt the forcible taking of Mr. Boerschig’s South Shurley ranch. Standardless del-

egations of government power to private entities violate the right to due process afforded private

parties such as Mr. Boerschig seeking to protect their rights to private property. Consequently,

Trans-Pecos should be barred from taking possession of Mr. Boerschig’s property, and this Court

should invalidate Trans-Pecos’s authority to exercise eminent domain powers under Texas law

because such exercise by Trans-Pecos violates Mr. Boerschig’s property rights under the Due

Process Clause of the Fourteenth Amendment to the United States Constitution.

Notice under Fed. R. Civ. Proc. 5.1(a)

    28. This Complaint draws into question the constitutionality of a Texas statutory scheme for

condemnation by a private entity, and neither the State of Texas, nor any of its agencies, officers,

or employees in their official capacities, is a party. In this circumstance, sub-parts (1)(B) and (2)

of Fed. R. Civ. Proc. 5.1(a) require Plaintiff Boerschig to serve notice of the constitutional ques-

tion on the Attorney General of Texas. Plaintiff will do so within a day of filing this Complaint.



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The file-stamped complaint and a notice of filing will be served on the Attorney General of Tex-

as by sending them to the electronic address his office has designated for this purpose:

const_claims@texasattorneygeneral.gov.

Legal claims

Count 1: Due Process violation (standardless delegation of governmental authority)

    29. Paragraphs 1–28, above, are incorporated.

    30. Trans-Pecos’s exercise of, and plans to exercise, eminent domain authority under Texas

law violates the Due Process Clause of the Fourteenth Amendment to the United States Constitu-

tion as applied to Mr. Boerschig and his South Shurley ranch, because it is an invalid standard-

less delegation of government authority to a private entity.

Count 2: Due process violation (no pre-possession determination of public use)

    31. Paragraphs 1–28, above, are incorporated.

    32. Trans-Pecos’s exercise of, and plans to exercise, the right to possess Mr. Boerschig’s

South Shurley ranch without a prior determination that the TPP constitutes a “public use” vio-

lates the Due Process Clause of the Fourteenth Amendment to the United States Constitution as

applied to Mr. Boerschig and his South Shurley ranch.

Prayer for Relief

    33. Based upon the foregoing matters, Plaintiff Boerschig respectfully requests that this

Court grant him the following relief:

    a.   assume jurisdiction over this action;

    b.   issue a preliminary injunction before July 14, 2016, prohibiting Trans-Pecos from tak-
         ing possession of Mr. Boerschig’s South Shurley ranch pending final disposition of this
         case;

    c.   issue a declaratory judgment that Trans-Pecos may not constitutionally exercise the
         power of eminent domain under Texas law;

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d.   issue a permanent injunction prohibiting any exercise of eminent domain authority by
     Trans-Pecos under Texas law;

e.   award Plaintiff Boerschig the costs incurred in bringing and prosecuting this action; and

f.   grant Plaintiff Boerschig such other and further relief as may be necessary, appropriate,
     and equitable.

                                                Respectfully submitted,

                                                __/s/ Renea Hicks_____________
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